                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                                  (Roanoke Division)


    JACOB DOE,

          Plaintiff,

    v.

    VIRGINIA POLYTECHNIC
    INSTITUTE AND STATE
    UNIVERSITY, TIMOTHY SANDS,
    FRANK SHUSHOK JR., KATIE                  Civil Action No.   7:19cv249
    POLIDORO, ENNIS McCRERY,
    KYLE ROSE, ROHSAAN SETTLE,
    KELLY OAKS and ANGELA
    SIMMONS, employees of Virginia
    Polytechnic Institute and State
    University, sued in his or her official
    and individual capacity, jointly and
    severally,

          Defendants.



                                        COMPLAINT

         Jacob Doe1 files this Complaint against Defendants Virginia Polytechnic

Institute and State University, for gender-based discrimination in violation of Title

IX of the Education Amendments of 1972 (20 U.S.C. § 1681 et seq.), violations of his

rights under the due process and equal protection requirements of the Fourteenth



1“Jacob Doe” is not the Plaintiff’s real name. Due to the nature of the allegations in
this lawsuit, Mr. Doe is proceeding under a pseudonym to protect his privacy and out
of fear of retaliation, and to protect the identity of his accuser, he is identifying her
as “Jenna Roe.” In using a pseudonym, Doe relies upon the factors set out in Co. Doe
v. Pub. Citizen, 749 F.3d 246 (4th Cir. 2014).

                                       1
     Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 1 of 23 Pageid#: 1
Amendment to the United States Constitution, Art. I, § 11 of the Virginia

Constitution, breach of contract, and other state law causes of action. In support of

this Complaint, Jacob Doe states as follows:

                       THE PARTIES AND JURISDICTION

1.   Plaintiff Jacob Doe (“Mr. Doe”) is, and at all times relevant to this Complaint

has been, a resident of Virginia. Plaintiff was a Virginia Tech student from fall 2015

until spring 2018.

2.   Defendant Virginia Polytechnic Institute and State University (the

“University” or “Virginia Tech”) is a public university incorporated, and with its

principal place of business located, in the Commonwealth of Virginia.

3.   Defendant Timothy Sands is or was at pertinent times the President of the

University and resides in Virginia.

4.   Defendant Frank Shushok, Jr., Ph.D. is or was at pertinent times a Senior

Assistant Vice President for the University and resides in Virginia.

5.   Defendant Katie Polidoro is or was at pertinent times Director of Title IX

Compliance and Title IX Coordinator for the University and resides in Virginia.

6.   Defendant Ennis McCrery is or was at pertinent times the Associate Director

of Student Conduct for the University and resides in Virginia.

7.   Defendant Kyle Rose is or was at pertinent times Student Conduct

Coordinator for the University and resides in Virginia.

8.   Defendant Rohsaan Settle is or was at pertinent times the Director of

Student Conduct for the University and resides in Virginia.




                                    2
  Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 2 of 23 Pageid#: 2
9.    Defendant Kelly Oaks is or was at pertinent times the Assistant Vice

President for Equity and Accessibility for the University and resides in Virginia.

10.   Defendant Angela Simmons is or was at pertinent times the Assistant Vice

President for Student Affairs for the University and resides in Virginia.

11.   The Court has federal question and supplemental jurisdiction pursuant to 28

U.S.C. § 1331 and 28 U.S.C. § 1367 because: (i) the federal law claims arise under

the United States Constitution, brought pursuant to 42 U.S.C. § 1983, and under

the laws of the United States, including Title IX of the Education Amendments of

1972, 20 U.S.C. §§ 1681-88; and (ii) the state law and common law claims are so

closely related to the federal law claims as to form the same case or controversy

under Article III of the United States Constitution.

12.   This Court has personal jurisdiction over Defendant Virginia Tech and the

affiliated Defendants on the grounds that they are conducting business within the

Commonwealth of Virginia.

13.   Venue for this action properly lies in this district pursuant to 28 U.S.C. §

1391 because Virginia Tech is located in this judicial district and a substantial part

of the events or omissions giving rise to the claims occurred in this judicial district.

              FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

                             1.    The Alleged Incident.

14.   Doe enrolled as an undergraduate student at Virginia Tech and matriculated

in the fall semester of 2015. Beginning at that time and continuing through the

events giving rise to this action, Doe paid tuition to attend the University.




                                    3
  Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 3 of 23 Pageid#: 3
15.   Doe expected to graduate from the University in the spring of 2019.

16.   In early December 2017, Doe and his then girlfriend, Jenna Roe, engaged in a

verbal altercation.

17.   As a result of the verbal altercation, Doe ended his long-term relationship

with Roe and asked for the return of his belongings.

18.   Devastated by Doe’s desire to end their relationship, Roe then called the

police and falsely accused Doe of assault and battery, for allegedly tugging earbuds

out of her ears during their verbal altercation, for trespassing while waiting for Roe

to return his belongings before leaving her apartment, and for dropping off an

apology letter to her.

19.   In January 2018, the Montgomery County Commonwealth Attorney

dismissed both charges against Doe after learning from Doe’s attorney, and from

Roe’s own testimony, that she herself had repeatedly physically assaulted Doe

during the relationship and was therefore not a credible witness.

                              2.      The Investigation.

20.   Notwithstanding dismissal of the criminal charges, the University opened a

Title IX investigation in response to the Roe’s allegations against Doe.

21.   Doe received notice of the investigation via email on December 19, 2017. This

notice did not include any information about the specific incidents, allegations, or

possible charges being investigated.




                                    4
  Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 4 of 23 Pageid#: 4
22.   Katie Polidoro (“Polidoro”), Deputy Title IX Coordinator, performed the

investigation. She met at least four times with Roe and interviewed at least three of

her witnesses.

23.   In contrast, Polidoro initiated only one meeting in December 2017 and one

follow-up meeting with Doe in January2 2018 and did not interview any of the

witnesses he identified who could have provided information disputing Roe’s claims.

24.   During the December 2017 meeting, Polidoro asked Doe very invasive and

inappropriate questions, including an inquiry into the quality of his sex life, which

did not have anything to do with what Doe understood to be the charges against

him.

25.   Demonstrating a clear bias against Doe as the male accused, though Doe

clearly reported to Polidoro during both the December 2017 and January 2018

interviews that he was a victim of domestic abuse by Roe and had promptly

submitted via email in January a written account describing this, the University

failed to initiate any Title IX investigation into Roe’s actions at this time.

26.   The investigation concluded on March 8, 2018 without having interviewed

any of Doe’s witnesses, and without having addressed his allegations against Roe.3



2 Doe did meet with Polidoro on other occasions, however such meetings took place
only upon initiation by Doe and solely concerned the impact the investigation was
having on his academics and emotional state, rather than the investigation itself.
Polidoro did not attempt to offer Doe the necessary accommodations for academic
relief until nearly four months after the investigation had begun. Polidoro’s emotional
support for Doe amounted to writing the name of a counseling center on a Post-it
note.
3 Polidoro claimed that Doe’s witnesses either did not want to participate, or never

got back to her, both of which were provably false. In fact, Polidoro misled witness

                                      5
    Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 5 of 23 Pageid#: 5
27.   On March 23, 2018, Doe was given a copy of Polidoro’s Investigation Report,

however the report still did not inform him of the exact allegations against him.

28.   On March 28, 2018, Doe attended a pre-hearing meeting with Assistant

Conduct Coordinator Maya Azar and was informed for the first time, after he had

already been subjected to an interview, that he was facing seven different charges,

including three relating to sexual assault.

29.   Given he had not been notified of these specific charges at any time between

December 20, 2017 when he received the notice of investigation, and March 28,

2018 when he attended the pre-hearing meeting, he was unable to provide a

meaningful defense during the investigation process.

30.   Moreover, despite the severity of the numerous charges brought against Doe,

at no time did Virginia Tech impose an interim suspension against him, despite its

authority to do pursuant to the Code.

31.   Certainly, had Defendants genuinely perceived Doe to be a threat to either

Roe to the community as a whole, they would not have permitted him to stay on

campus, nor attend classes, for a full five months while the investigation was

ongoing.

32.   The hearing was scheduled for April 4, 2018, only one week after he first

learned of the charges against him.




A.H., stating that he was being asked to be a witness against Doe, on Roe’s behalf,
and so he refused the meeting. Witness D.G. had to change the date of his initial
meeting time, and Polidoro never followed up with a new date. Witness S.H. was
never contacted during the first investigation.

                                    6
  Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 6 of 23 Pageid#: 6
33.   Doe’s mother thereafter made several contacts with both Assistant Vice

President of the Office for Equity and Accessibility Kelly Oaks (“Ms. Oaks”) and

Director of Student Conduct Rohsaan Settle (“Mr. Settle”), questioning why Doe’s

witnesses had not been interviewed, and why Roe’s conduct had not been

investigated.

34.   On March 30, 2018, four days prior to the scheduled hearing, Mr. Settle

advised Doe’s mother that the 8-page statement Doe gave to the Title IX office in

January would not suffice as notification to the University that Doe had been

abused by his girlfriend, even though Doe’s statement described in detail being

physically attacked by Roe (who holds a martial arts blackbelt) while he was

sleeping, and being hit by her in front of his roommate.

35.   Rather than accepting Doe’s previously submitted statement, Mr. Settle

instructed Doe to prepare a formal complaint against Roe.

36.   On April 2, 2018, Doe filed his formal complaint against Roe and pushed to

have the University’s Title IX office investigate Roe for domestic abuse, as he had

initially reported in his statements to Polidoro in December and January. As a

result, Polidoro was finally forced to interview Doe’s witnesses.

37.   On April 3, 2018 at 4:00 p.m., less than 24 hours before the scheduled

hearing, Doe was notified that the hearing would be postponed.

38.   Thereafter, a superficial investigation into Doe’s report was conducted,

culminating in the issuance of an investigative report dated April 30, 2018.




                                    7
  Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 7 of 23 Pageid#: 7
                         3.    The Decision and Sanctions.

39.   On May 21, 2018, the University held a hearing concerning Roe’s allegations

against Doe. Defendants Kyle Rose and Ennis McCrery, both members of the

Student Conduct staff, acted as the “impartial” hearing officers.

40.   Prior to the hearing, Roe’s attorney threatened Doe with citing a violation of

the previously issued protective order if Doe attended the hearing. Upon being

notified of this issue, Ms. Oaks carelessly and inappropriately suggested that the

two parties simply not show up for the hearing, unconcerned with Doe’s ability to

meaningfully present a defense.

41.   In a decision letter dated May 23, 2018, McCrery and Rose erroneously found

Doe responsible for domestic violence and imposed a 1.5-year suspension from the

University, through the end of the Winter 2020 term, with eligibility for re-

enrollment in the Spring 2020 semester. This 1.5-year suspension was in effect

however, a full 2-year suspension given Doe’s inability to begin courses in the spring

that include prerequisites offered only in the fall semester.

42.   In addition, Doe was required to attend mandatory counseling sessions,

schedule a mandatory mental health assessment and participate in various

educational programs, including one on anger management.

43.   The decision relied heavily on the accounts of “multiple witnesses” who

allegedly corroborated Roe’s account; yet, it failed to note that none of Doe’s

witnesses were ever interviewed.




                                    8
  Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 8 of 23 Pageid#: 8
44.   Also on May 21, 2018, the University held a simultaneous hearing concerning

Doe’s allegations against Roe. McCrery and Rose found Roe responsible for dating

violence only, despite her own admission to having physically assaulted Doe on

more than one occasion.

45.   There was no rational explanation for the severely disproportionate sanctions

issued to the parties in light of the nature of the allegations. While Doe was issued a

1.5-year suspension for alleged verbal altercations, Roe received a mere probation

for engaging in physical violence against Doe, which she admitted.

46.   Doe appealed the findings of responsibility on June 1, 2018. Pursuant to

Virginia Tech’s Title IX procedure, he appealed on several grounds including that

the hearing officers were biased, the standard of proof used in the hearing was

wrong, and that he did not receive proper notice of the allegations.

47.   The appeal process at Virginia Tech has different procedures in Title IX cases

than the process for other student conduct cases. In regular student conduct cases,

only an accused student can appeal. In Title IX cases, both the accused and the

accuser can appeal. Virginia Tech officials are more likely to carefully consider an

appeal from a female appellant than a male appellant. In fact, it is very rare for the

University to overturn findings of responsibility against male students accused of

sexual misconduct, even when the evidence in favor of the male student is clear (as

it was in this case).

48.   Simmons disregarded the lack of sufficient notice provided to Doe on the

grounds that Doe was notified of the charges prior to the hearing (but after he had




                                    9
  Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 9 of 23 Pageid#: 9
already been interviewed and an investigation report issued), new information Doe

offered, and the bias exhibited throughout the investigation process.

49.    Further, Simmons entirely disregarded as “new information” evidence

presented by Doe in his appeal which refuted Roe’s allegations that he prevented

her from spending time with family or friends.4 Yet, this information could not

reasonably be considered “new” information not properly presented at the appeal

stage, when Doe did not learn until the hearing itself that such allegations were

made against him.

50.    On June 18, 2018, Assistant Vice President for Student Affairs Angela

Simmons denied his appeal, upholding the findings and sanctions.

51.    This constituted the final decision of the University.

        COUNT I – VIOLATION OF THE DUE PROCESS CLAUSE OF THE
     FOURTEENTH AMENDMENT TO THE UNITED STATES CONSTITUTION
                      PURSUANT TO 42 U.S.C § 1983
                      (AGAINST ALL DEFENDANTS)

52.    Doe incorporates all other paragraphs in this complaint, as though fully set

forth in this count.

53.    The Fourteenth Amendment to the United States Constitution provides that

no state shall “deprive any person of life, liberty, or property, without due process of

law.”




4 Doe outlined the various trips, get-togethers, and vacations, both in and out of the
state that Doe and Roe attended with each other’s families.

                                      10
    Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 10 of 23 Pageid#: 10
54.   Virginia students at public post-secondary schools, like Virginia Tech, have a

liberty and property interest in their educations, which is protected by the

Fourteenth Amendment’s Procedural Due Process Clause.

55.   Doe has a liberty interest in his good name, reputation, honor, and integrity

which is protected by the Fourteenth Amendment’s Procedural Due Process Clause.

56.   Because of Doe’s various liberty and property interests protected by the

Procedural Due Process Clause of the Fourteenth Amendment, Virginia Tech was

obligated to provide him with a fundamentally fair and unbiased disciplinary

process before punishing him for alleged misconduct.

57.   At a minimum, Virginia Tech was required to afford him proper notice of the

allegations against him and a meaningful opportunity to be heard and to defend

himself, both of which it failed to do.

58.   Defendants deprived Doe of proper notice of the charges against him when

the December 19, 2017 notice of investigation failed to include any information

about the specific incidents, allegations, or possible violations of the Student

Conduct Code being investigated. It was not until March 28, 2018, well after the

conclusion of the investigation, and over two months after Doe had been

interviewed and provided a statement that he learned for the first time that seven

different charges were alleged, including three allegations of sexual misconduct. As

Doe was not notified of these charges until the investigation portion of the matter

had closed, Doe was unable to adequately respond to the charges against him.




                                   11
 Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 11 of 23 Pageid#: 11
59.   Defendants deprived Doe of a meaningful opportunity to be heard when they

failed to notify him of all allegations against him prior to requiring him to appear

for an investigatory interview; while Polidoro interviewed at least three of Roe’s

witnesses, she failed to interview even one of Doe’s; the delayed investigation

process resulted in a hearing date of May 21, 2018, at which point Doe’s witnesses

were unable to appear due to study abroad programs and planned summer travel

and jobs; Polidoro disregarded Doe’s statements concerning the abusive conduct he

was subjected to by Roe; and Polidoro disregarded exculpatory evidence including

the dismissal of Roe’s criminal charges and information collected from Doe’s

witnesses during the criminal proceeding that demonstrated Doe never engaged in

the conduct alleged.

60.   The foregoing failures deprived Doe of his education for a minimum of 2 years

and resulted in a permanent mark on his academic record, which will irreparably

harm his future employment and educational opportunities.

61.   The notation of suspension on his student transcript will further severely

limit his ability to find academic or career success. It will cause other educational

institutions and many employers to reject him because of the wrongful disciplinary

action.

62.   As a result of these due process violations, Doe was suspended and suffers

ongoing harm to his reputation and numerous damages. His delayed anticipated

graduation date will result in lost future earnings and additional undergraduate

expenses, and he will forever by marred by an erroneous record of suspension on his




                                   12
 Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 12 of 23 Pageid#: 12
transcript that will negatively affect future educational and employment

opportunities.

       63.   As a result of these erroneous findings, Doe has also sustained

damages in the form of at least two years of lost earnings, a lease obligation from

the 2018-2019 academic year, attorneys’ fees, mental health counseling, the loss of

an internship opportunity, and psychological and emotional damages.

       WHEREFORE, plaintiff Jacob Doe prays judgment as hereinafter set forth.

                 COUNT II – VIOLATION OF THE DUE PROCESS CLAUSE
                          OF THE VIRGINIA CONSTITUTION
                             (AGAINST ALL DEFENDANTS)

64.   Doe incorporates all other paragraphs in this complaint, as though fully set

forth in this count.

65.   The Virginia Constitution states that “no person shall be deprived of his life,

liberty, or property interests without due process of law.” Va. Const. art. I, § 11.

66.   For the reasons stated under Count I, the University deprived Doe of various

liberty and property interests without due process of law.

67.   Accordingly, all Defendants are also liable to Doe for violations of the

Virginia Constitution and the individual defendants are liable, in their personal

capacities, for all damages arising out of those violations.

         COUNT III – VIOLATION OF TITLE IX (20 U.S.C. § 1681 et seq.)
                        (AGAINST THE UNIVERSITY)

68.   Doe incorporates all other paragraphs in this complaint, as though fully set

forth in this count.




                                   13
 Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 13 of 23 Pageid#: 13
69.   Virginia Tech receives federal funding, including in the form of federal

student loans given to students and is subject to the provisions of Title IX.

70.   Title IX prohibits gender discrimination in the educational setting.

71.   Virginia Tech erroneously found Doe responsible for domestic violence.

Indeed, he is innocent of the allegations and in fact, was the victim of abuse by his

accuser, Roe.

72.   While the evidence demonstrated, at most, that Doe engaged in normal

verbal altercations with Roe on occasion, the evidence indisputably established that

Roe physically assaulted Doe, which was observed by direct witnesses on more than

one occasion. Additionally, the evidence demonstrated that Roe threatened Doe,

manipulated him, and caused him continued mental anguish and apprehension

through her threats to him and his property.

73.   In light of the available evidence, the resultant sanctions of a 1.5-year

suspension against Doe in comparison to a probation against Roe can only be

explained by a gender bias against Doe, unsupported presumptions about the

credibility of the parties, and the failure to conduct a fair and thorough

investigative process.

74.   Doe was presumed guilty from the moment the report was filed; the disparate

treatment and sanctions applied to the parties were informed by archaic stereotypes

about the roles of men and women in relationships and the presumption that Roe,

as the female, could not be the aggressor.




                                   14
 Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 14 of 23 Pageid#: 14
75.   Moreover, the University ignored Doe’s complaint concerning the physical

abuse and verbal threats that he endured from Roe, until they were forced to

address them. Even when they finally did investigate Doe’s allegations, they failed

to take such charges seriously, operating from the presumption that only the female

complainant could be a victim.

76.   At no time did the investigator or hearing officers consider Roe’s motivation

for filing the complaint against Doe. In fact, had a thorough investigation been

performed, the University would have discovered that Roe threatened Doe on

multiple occasions, stating that “he would be sorry if he broke up with her” and that

she would “make him sorry”/ “set fire to his truck” if he left her.

77.   Defendants demonstrated a bias against Doe as the male accused when they

failed to provide Doe with the same victim rights and support as provided to Roe,

when he expressed his desire to pursue domestic abuse charges against Roe.

78.   Specifically, Polidoro reached out to Roe to encourage her to file a Title IX

complaint against Doe, met with Roe to discuss her rights and options under the

Title IX process, met with Roe no less than four times in a six-week period to walk

her through the reporting process, and generally acted as an advocate for Roe

rather than an impartial administrator tasked with overseeing the Title IX process

when she aided Roe in determining the multitude of possible charges she could

bring against Doe under the Hokie Handbook. Evidently, Polidoro treated Roe with

respect and also afforded her instant credibility as a female witness.




                                   15
 Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 15 of 23 Pageid#: 15
79.   In direct contrast, when Doe reported that he had been the victim of domestic

abuse in his initial statement to Polidoro, he was offered only cursory assistance.

Indeed, Polidoro failed to even include a comment about Roe’s abuse of Doe in her

conclusion of the Investigation Report. Neither Polidoro nor the other members of

the Title IX or student conduct office met with Doe to encourage him to file a Title

IX complaint as they had done with Roe, did not meet with him to discuss his rights

and options under the Title IX process, nor did they suggest any victim’s services or

offer to assist Doe in filing a report with campus police.

80.   Moreover, when Doe attempted to pursue domestic violence charges against

Roe, Mr. Settle refused to allow him to use his previous statement to file the

complaint, even though it is both University and Title IX policy that a complaint is

to be investigated no matter the form in which it is delivered. Mr. Settle made it

clear that Doe would instead have to re-live his memories of the domestic violence

and make a second statement in order to file a complaint. Mr. Settle also advised

that there would be no investigation if Doe did not file a formal complaint.

81.   In comparison, when Roe made her initial statement to Polidoro, Polidoro

went out of her way to help Roe through the process and charge Doe with as many

violations as she could plausibly assemble from Roe’s statement.

82.   The University further demonstrated a bias against Doe as the male accused

when it included evidence tending to inculpate Doe in the investigation reports, yet

failed to include evidence exculpating him.




                                   16
 Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 16 of 23 Pageid#: 16
83.   Specifically, Defendants included information related to the criminal matter

including the protective order and police report in its final reports. Conversely, Doe

was prevented from presenting evidence that supported both his defense and his

allegations against Roe including, that the Commonwealth Attorney declined to

bring a case against him, the University failed to speak with the Commonwealth

Attorney (“CA”), and Roe and Doe both signed an Accord and Satisfaction after Roe

admitted to the CA that she engaged in physical abuse against Doe.

84.   Finally, while Doe received a no contact order prohibiting him from

contacting Roe in light of her allegations, when Doe filed his domestic violence

claim, no such no contact order was issued to Roe.

85.   The foregoing demonstrates the clear disparate treatment afforded to the

parties and decision making by the University that can only be attributed to a

gender bias against male students accused of misconduct.

86.   As both Roe and Doe were accused of misconduct, the manner in which the

investigations were handled, and the ultimate outcomes and sanctions imposed,

reveal a process that plainly favors female students over male students, not just one

that favors complainants over respondents.

87.   Moreover, Virginia Tech initiated its investigation in the shadow of (1) Office

of Civil Rights (“OCR”) investigations into how colleges and universities handle

allegations of sexual assault; and (2) innumerable reports covered in the national

media that suggest the pervasive nature of sexual assault committed by male

students on college campuses throughout the nation. As a reaction to the scrutiny of




                                   17
 Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 17 of 23 Pageid#: 17
these OCR investigations and national stories, and in order to be perceived as

aggressively addressing the perceptions that sexual assault against female students

is rampant on college and university campuses, Virginia Tech treats male students

accused of sexual misconduct by female students more aggressively than it

otherwise would, and more aggressively than it would treat similar complaints

made by male students against female students.

88.   Virginia Tech has engaged in a pattern of unfair investigations and

adjudications resulting in serious sanctions being imposed on male students, while

not making comparable efforts with respect to allegations of sexual violence and

abusive conduct made against female students.

89.   The appeal process for Title IX cases disproportionately and negatively

affects male students. Appeals from male students are almost certain to fail. The

appeal process itself favors female students because complainants in Title IX cases

(who are overwhelmingly female) are given the right to appeal adverse decisions,

unlike complainants in non-Title IX cases, essentially subjecting male respondents

to double jeopardy.

90.   The University favors female complainants over male complainants. If a male

makes a Title IX complaint against a female, University officials are more likely to

ignore the complaint (as the University did in this case) and not even bring it

forward to a hearing than if the complaint was brought by a similarly situated

female.




                                   18
 Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 18 of 23 Pageid#: 18
91.   Here, the decision erroneously finding Doe responsible for the alleged sexual

misconduct, and the disproportionate sanction assessed was motivated by a gender

bias against male students.

       WHEREFORE, plaintiff Jacob Doe prays judgment as hereinafter set forth.

                       COUNT IV – BREACH OF CONTRACT
                         (AGAINST THE UNIVERSITY)

92.   Doe incorporates all other paragraphs in this complaint, as though fully set

forth in this count.

93.   Doe paid the University sums of money for his education, and in return, the

University contracted to provide Doe with access to its undergraduate degree

program.

94.   Doe’s enrollment in, and attendance of, classes at Virginia Tech created in

Doe an expectation that he would be allowed to continue his course of study until he

earned his degree from the University, provided that he maintained satisfactory

grades and complied with University rules and policies.

95.   Accordingly, an implied contractual relationship existed between Doe and the

University, under which each party owes the other certain duties.

96.   Under the implied contract between Doe and Virginia Tech, Virginia Tech

has a duty not to suspend or expel Doe for disciplinary misconduct arbitrarily,

capriciously, maliciously, discriminatorily, or otherwise in bad faith.

97.   The University breached these contractual obligations by suspending Doe for

domestic violence through an investigative and adjudicative process that—in the




                                   19
 Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 19 of 23 Pageid#: 19
ways, and for the reasons, set out above—was arbitrary, capricious, malicious,

discriminatory, and conducted in bad faith.

98.    As a direct and proximate result of this breach, an erroneous finding that Doe

committed domestic violence has been made part of Doe’s educational records,

which may be released to educational institutions and employers to whom Doe

applies, substantially limiting his ability to gain acceptance at other institutions or

to secure future employment.

99.    Accordingly, Virginia Tech is liable to Doe for breach of contract and for all

damages arising therefrom.

        WHEREFORE, plaintiff Jacob Doe prays judgment as hereinafter set forth.

COUNT V – BREACH OF DUTIES OWED UNDER THE LAW OF ASSOCIATION
                   (AGAINST THE UNIVERSITY)

100.    Doe incorporates all other paragraphs in this complaint, as though fully set

forth in this count.

101. In conducting its investigation and adjudication of Roe’s complaint against

Doe, and of Doe’s complaint against Roe, Virginia Tech owed Doe a common law

duty under the law of associations not to suspend him for domestic violence on a

record that was devoid of evidence to support the charge.

102. Acting through its agents, servants and/or employees, Virginia Tech breached

this duty by finding Doe responsible for domestic violence based on erroneous

factual findings and by ignoring evidence to the contrary.

103. In conducting its investigation and adjudication of Roe’s complaint against

Doe, and Doe’s complaint against Roe, Virginia Tech owed Doe a common law duty



                                   20
 Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 20 of 23 Pageid#: 20
under the law of associations to follow its policies and procedures - including the

University’s Title IX Policy and Hokie Handbook, which mandates that a complaint

be investigated even if it appears in the form of an 8-page written statement.

104. Acting through its agents, servants and/or employees, Virginia Tech breached

this duty by failing to follow the Title IX Policy and Hokie Handbook in several

material respects, including (1) failing to obtain certain relevant evidence when

Polidoro chose to interview Roe’s witnesses while not interviewing Doe’s; (2) failing

to consider exculpatory evidence including the Commonwealth’s dismissal of Roe’s

charges; and (3) failing to treat the parties equally and with respect when it made

decisions throughout the investigative process that demonstrated the University’s

bias against Doe as the male accused and male victim.

105. As a direct and proximate result of Virginia Tech’s breach of these duties,

Doe’s education was unnecessarily and wrongfully delayed by 2 years. Doe has

endured emotional and psychological suffering, his academic records will reflect the

erroneous finding that he committed domestic violence, and he will be hindered in

his ability to gain acceptance to future educational institutions and secure

employment in his field of choice.

106. Accordingly, Virginia Tech is liable to Doe for its violations of duties owed

under the law of associations, and for all damages arising out of such violations.

WHEREFORE, plaintiff Jacob Doe prays judgment as hereinafter set forth.




                                   21
 Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 21 of 23 Pageid#: 21
                       COUNT VI – DECLARATORY JUDGMENT
                          (AGAINST ALL DEFENDANTS)

107. Doe incorporates all other paragraphs in this complaint, as though fully set

forth in this count.

108. Virginia Tech violated Doe’s due process rights when it deprived him of

sufficient notice of the charges against him, conducted a biased investigation

motivated by archaic assumptions about the roles of males and females in

relationships, deprived Doe of a meaningful opportunity to be heard by failing to

interview all relevant witnesses, and treated him differently from Roe throughout

the investigation process.

       WHEREFORE, plaintiff Jacob Doe prays that judgment be entered in his

favor for:

   (1)compensatory and punitive damages in an amount to be determined at trial;

   (2)a permanent injunction (a) restraining Virginia Tech, and all those acting in

       concert with Virginia Tech, from continuing to enforce any punishment

       against him and from making any notation on his transcript or keeping any

       record relating to his disciplinary hearing in Doe’s educational records, and

       (b) ordering that Virginia Tech rescind and expunge the sanctions entered

       against him by Virginia Tech;

   (3)a declaration that (a) the University violated Doe’s due process rights and its

       actions were motived purely by gender, and (b) Doe was unjustly sanctioned

       by Virginia Tech.




                                   22
 Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 22 of 23 Pageid#: 22
  (4)costs, including attorneys’ fees under Title IX and 42 U.S.C § 1988, and such

     further relief as is just and equitable.


DATED: March 19, 2019
                                                Respectfully submitted,



                                       By:      /s/ Jesse R. Binnall      .


                                                Harvey & Binnall, PLLC
                                                Jesse R. Binnall
                                                717 King Street, Suite 300
                                                Alexandria, Virginia 22314
                                                Telephone: (703) 888-1943
                                                Facsimile: (703) 888-1930
                                                Email: jbinnall@harveybinnall.com

                                                Nesenoff & Miltenberg LLP
                                                Andrew T. Miltenberg
                                                Tara J. Davis
                                                363 Seventh Avenue, 5th Floor
                                                New York, NY 10001-3904
                                                Telephone: (212) 736-4500
                                                Facsimile: (212) 736-2260
                                                Email: amiltenberg@nmllplaw.com
                                                        tdavis@nmllplaw.com

                                                Attorneys for Plaintiff




                                  23
Case 7:19-cv-00249-EKD Document 1 Filed 03/19/19 Page 23 of 23 Pageid#: 23
